            Case 2:07-cr-00570-KJM Document 93 Filed 06/17/08 Page 1 of 2
                                                                   PRO HAC VICE APPLICATION,
                                                                 ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                        TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                          PROPOSED ORDER



  United States of America,
                                    Plaintiff(s),
                                                    Case No. CR 07-570 FCD
  v.

  Tarsem Singh, et al.
                                   Defendant(s).

          I, John R. Crowley, attorney for Tarsem Singh, hereby petition for admission to practice

 Pro Hac Vice under the provision of Local Rule 83-180(b)(2). I understand and consent to ECF

 Registration and Electronic Service as detailed below and I have submitted payment in the

 amount of $180.00 to the Clerk, U.S. District Court. In support of this petition, I state under

 penalty of perjury that:

          My business address is:

 Firm Name:              The Crowley Law Firm

 Address:                P. O. Box 4039

 City:                   Seattle

 State:                  Washington        ZIP Code: 98194

 Voice Phone:            (206) 625.7500

 FAX Phone:              (206) 625.1223

 Internet E-mail:        john@johncrowleylawyer.com

 Additional E-mail:      _________________________________________________________

 I reside in City:       Bainbridge Island, Washington 98110

          I was admitted to practice in the State of Washington (court) (WSBA #19868)

 on 11.10.1990. I am presently in good standing and eligible to practice in said court. I am not

 currently suspended or disbarred in any other court.

          I have  / have not X concurrently or within the year preceding this application made

 a pro hac vice application to this court. (If you have made a pro hac vice application to this
            Case 2:07-cr-00570-KJM Document 93 Filed 06/17/08 Page 2 of 2
court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

___________________________________________________________________________

___________________________________________________________________________

                                                                                                   .

          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:            C. David Eyster, ESQ.

Firm Name:       Law Office of Duncan James

Address:         445 North State Street


City:            Ukiah

State:           California ZIP Code: 95482-1381

Voice Phone: (707) 468.9271

FAX Phone:       (707) 468.0453

E-mail:          eyster@duncanjames.com



Dated: 06/11/08          Petitioner: /s/ John R. Crowley


                                               ORDER

          IT IS SO ORDERED.


Dated: June 17, 2008
                                                       _______________________________________
                                                       FRANK C. DAMRELL, JR.
                                                       UNITED STATES DISTRICT JUDGE
